                      IN THE UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF NEW MEXICO

UNITED STATES OF AMERICA,

                   Plaintiff,

vs.                                             No. 11 CR 882 LH

LARRY PAM,

      Defendant.

                                ENTRY OF APPEARANCE

        COMES NOW Margaret A. Katze, Federal Public Defender, by and on behalf of

the Federal Public Defender Organization and, hereby enters her appearance as counsel of

record for the defendant in this case.

                                                Respectfully submitted,


                                                FEDERAL PUBLIC DEFENDER
                                                111 Lomas Blvd., NW, Suite 501
                                                Albuquerque, NM 87102
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                                                   /s/ filed electronically
                                                MARGARET A. KATZE, FPD
                                                Attorney for Defendant
